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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                   Plaintiff,             )                8:17CR132
                                          )
      vs.                                 )
                                          )
KAYVON BERRY-SMITH,                       )                  ORDER
                                          )
                   Defendant.             )


        This matter is before the court on defendant’s unopposed Motion to Continue
Trial [52]. Counsel requests additional time to conclude plea negotiations. For good
cause shown,

      IT IS ORDERED that the Motion to Continue Trial [52] is granted as follows:

      1. The jury trial now set for December 26, 2017, is continued to January 29,
      2018.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
      justice will be served by granting this continuance and outweigh the interests of
      the public and the defendant in a speedy trial. Any additional time arising as a
      result of the granting of this motion, that is, the time between today’s date and
      January 29, 2018, shall be deemed excludable time in any computation of time
      under the requirement of the Speedy Trial Act. Failure to grant a continuance
      would deny counsel the reasonable time necessary for effective preparation,
      taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) &
      (B)(iv).

      DATED December 22, 2017.

                                              BY THE COURT:


                                              s/ Susan M. Bazis
                                              United States Magistrate Judge
